EXHIBIT A
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    In re:
                                                            Chapter 11
    INT. ASSOC. OF SHEET METAL, AIR,
    RAIL & TRANSPORTATION WORKERS,                          Case No. 23-11777-mdc
    TRANSPORTATION DIV., LOCAL 1594, 1

                   Debtor.


                     NOTICE OF DEADLINE TO FILE PROOFS OF CLAIM

TO ALL PERSONS OR ENTITIES WITH CLAIMS AGAINST THE DEBTOR, PLEASE
TAKE NOTICE THAT:

        The Bankruptcy Court entered an Order in the Int. Assoc. of Sheet Metal, Air, Rail &
Transportation Workers, Transportation Div., Local 1594 Chapter 11, Sub V case (the “Bar Date
Order”), establishing September 1, 2023, as the general claims bar date (the “General Bar Date”).
Except as described below, the Bar Date Order requires that any Claims (as defined herein) against
the Debtor be filed with the Clerk of the United States Bankruptcy Court (the “Clerk's Office”) by
submitting a proof of claim to the following address: Clerk’s Office, U.S. Bankruptcy Court for
the Eastern District of Pennsylvania, Robert N.C. Nix, Sr. Building, Suite 400, 900 Market Street,
Philadelphia, PA 19107, so that such proof of claim is ACTUALLY RECEIVED on or before
the General Bar Date, September 1, 2023. Proofs of claim are deemed filed only when they are
actually received by the Clerk’s Office, and facsimile submissions will not be accepted.

        Pursuant to the Bar Date Order, all persons or entities, including, without limitation,
individuals, partnerships, corporations, estates, trusts, and unions (individually, an “Entity”)
holding claims against the Debtor (whether secured, priority or unsecured) that arose prior to June
16, 2023, are required to file proofs of claim by the General Bar Date, unless otherwise provided
herein.

         The following Entities must file a proof of claim on or before the General Bar Date, unless
otherwise provided herein: (a) any Entity whose Claim is listed in the schedules of assets and
liabilities (the “Schedules”) as “disputed,” “contingent” or “unliquidated” and who desires to
participate in the Chapter 11 case or share in any distribution in the Chapter 11 case; (b) any Entity
whose Claim is improperly classified in the Schedules or is listed in an incorrect amount and that
desires to have its Claim allowed in a classification or amount other than that set forth in the
Schedules; or (c) any Entity asserting a Claim that is not listed in the Schedules.


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 If applicable, the last four digits of the taxpayer identification number of the Debtor is 6853 and the Debtor’s
address is 6938 Market Street, Second Floor, Suite 3, Upper Darby, PA 19082.
        The following Entities do not need to file a proof of claim on or before the General Bar
Date: (a) any Person or Entity (i) that agrees with the nature, classification and amount of such
Claim set forth in the Schedules and (ii) whose Claim against the Debtor is not listed as “disputed,”
“contingent” or “unliquidated” in the Schedules; (b) any Person or Entity that has already properly
filed a proof of claim against the Debtor; (c) any Person or Entity asserting a Claim allowable
under §§ 503(b) and 507(a)(l) of the Bankruptcy Code as an administrative expense of the Debtor’s
Chapter 11 case; and (d) any Person or Entity whose Claim against the Debtor previously has been
allowed by, or paid pursuant to, an order of the Bankruptcy Court. Entities should not file a proof
of claim if such Entity does not have a Claim against the Debtor.

       Any Entity whose Claims have been reduced, deleted or the status of which has been
changed in connection with amendments to the Schedules must file a proof of claim in respect of
such amended schedule claim on or before the later of: (a) the General Bar Date or (b) thirty (30)
days after such Entity is served with notice that the Schedules have been amended.

        Any Entity that is required to file a proof of claim but fails to do so in a timely manner,
will be forever barred, estopped and enjoined from: (a) asserting any Claim against the Debtor that
such entity has that (i) is in an amount that exceeds the amount, if any, that is set forth in the
Schedules, or (ii) is of a different nature or in a different classification (in either case, an
“Unscheduled Claim”); and (b) voting upon, or receiving distributions under any plan in this
Chapter 11 case in respect of an Unscheduled Claim.

        Neither the Debtor, his attorneys nor the Clerk’s Office can advise you whether you should
file a proof of claim. Nothing set forth in this bar date notice shall preclude the Debtor from
objecting to any claim whether scheduled or filed, on any grounds.

       Neither the Debtor's counsel nor the Bankruptcy Court Clerk’s Office can give you legal
advice. You may wish to consult an attorney to protect your rights.


Dated: July 24, 2023                  GELLERT SCALI BUSENKELL & BROWN, LLC

                                              /s/ Holly S. Miller
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